This is an appeal from a judgment for damages suffered through an automobile collision. [1] The driver of the machine causing the injury was the husband of the car owner against whom the judgment was obtained. The judgment was proper if the driver had used the car with the owner's consent. According to the injured person the owner upon arriving at the scene of the accident told her that "he (the driver) went away with it on an errand for her and (she) would take care of things". *Page 355 
Subsequently, according to two other witnesses, the owner stated substantially the same to them. There was testimony by deposition of both the driver and the owner that the automobile had been driven without and against the owner's consent.
In the light of all the circumstances a conflict of substantial evidence was presented to the trial court and its conclusion thereon is final.
The judgment is affirmed.
Works, P.J., and Craig, J., concurred.